Case 4:23-cv-00597-ALM-BD             Document 42        Filed 05/30/25      Page 1 of 12 PageID #:
                                              611



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 U.S. BANK TRUST NATIONAL                          §
 ASSOCIATION                                       §
 as Trustee for RASC 2006-EMX5                     §
                                                   §
 v.                                                §         NO. 4:23-CV-00597-ALM-BD
                                                   §
 KINGMAN HOLDINGS, LLC et al.                      §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE
      In this diversity case, U.S. Bank Trust National Association, in its capacity as trustee for RASC

2006-EMX5, a lienholder-trust, sued the Kingman defendants (Kingman Holdings, LLC, both

individually and as trustee for the Love Bird 218 Land Trust; Mark DiSanti; and Ted Blanchard)

and Yasir and Mahwish Lal. Dkt. 1. U.S. Bank alleges that the Kingman defendants engaged in a

fraudulent scheme to deprive it of its lien on a property that was later sold to the Lals. Id. UIF

Corporation, the Lals’ mortgage lender, intervened. Dkt. 26. The Lals moved for summary

judgment. Dkt. 36; see Dkts. 37 (response), 38 (reply). The court will recommend that the motion

be denied.

                                          BACKGROUND
I. Factual Background
      The court previously recounted the somewhat convoluted factual background of this case. See

Dkt. 40 at 1–3. To summarize, two trusts (EMX5 and EMX6, for short) held liens on a house. U.S.

Bank was the trustee of both. The Kingman defendants bought the house at a foreclosure sale, then

transferred ownership to Ohio Gravy Biscuit, a nonparty entity. Ohio Gravy Biscuit sued U.S. Bank

as trustee for just one of the trusts, EMX6, in state court. But the court rendered a default judgment

that purportedly discharged both EMX6’s and EMX5’s liens against the property despite Ohio

Gravy Biscuit’s failure to serve U.S. Bank as trustee for EMX5, the plaintiﬀ here.
Case 4:23-cv-00597-ALM-BD             Document 42         Filed 05/30/25       Page 2 of 12 PageID #:
                                              612



    Ohio Gravy Biscuit and the Kingman defendants transferred title to the house through several

entities. Eventually, the Lals bought the house.
II. Procedural Background and the Parties’ Contentions
    U.S. Bank originally alleged seven claims. After a round of dismissal motions ﬁled by the

Kingman defendants, see Dkts. 17, 25, 40, 41, just two claims against the Lals remain: a quiet-title

action and a request for a declaration that the Lals (or anyone else taking title after the Kingman

defendants) hold title subject to U.S. Bank’s superior lien.

    The Lals make two arguments in their summary-judgment motion. They ﬁrst assert that U.S.

Bank’s remaining claims constitute an impermissible collateral attack on the state court’s default

judgment, which they contend is valid. Dkt. 36 at 1. The Lals’ theory is that EMX5 received all of

the process it was due in the state-court suit, and therefore cannot show that the default judgment

rendered at the conclusion of that suit was void, because even though EMX5 was not a party to the

suit, its interests were virtually represented through EMX6. Second, the Lals argue that the

Rooker–Feldman doctrine, which generally bars a party who loses in state court from challenging

the ﬁnal state-court judgment against it in federal district court, strips this court of jurisdiction over

U.S. Bank’s claims.

    In response to the ﬁrst point, U.S. Bank asserts that the Supreme Court disfavors the doctrine
of virtual representation, that no Texas court has applied the doctrine in an analogous
circumstance, and that the requirements of privity and identity of interest were not met in the state-

court proceeding. In U.S. Bank’s view, that means it may still legitimately contend that the state

court’s default judgment is void based on insuﬃcient process—a contention that, if accepted,

would take its claims against the Lals outside the sphere of an impermissible collateral attack. On

the second point, U.S. Bank asserts that the Rooker–Feldman doctrine does not apply when the

state-court judgment at issue is void, so the court does not lack jurisdiction over its claims against

the Lals.

    Because the Rooker–Feldman doctrine is jurisdictional, the court will address it ﬁrst even

though the Lals presented it second. See Truong v. Bank of Am., N.A., 717 F.3d 377, 382 (5th Cir.

                                                    2
Case 4:23-cv-00597-ALM-BD           Document 42        Filed 05/30/25       Page 3 of 12 PageID #:
                                            613



2013); Dkt. 36 at 1, 9–10. And although the Lals urged dismissal based on Rooker–Feldman in a

motion for summary judgment, the court will construe that part of the ﬁling as a motion to dismiss

for lack of subject-matter jurisdiction and apply the appropriate standard. See Stanley v. CIA, 639

F.2d 1146, 1157 (5th Cir. Unit B 1981) (explaining that jurisdictional challenges “should be raised

by a motion to dismiss for lack of subject matter jurisdiction rather than by a motion for summary

judgment”); Cano v. Assured Auto Grp., No. 3:20-CV-3501-G, 2021 WL 3036933, at *2 (N.D. Tex.

July 19, 2021) (stating that “[a]n untimely Rule 12(b)(1) motion will be treated as a suggestion that

the court lacks jurisdiction”).

                                     LEGAL STANDARDS
I. Challenges to Subject-Matter Jurisdiction
   Federal Rule of Civil Procedure 12(b)(1) authorizes a motion to dismiss for “lack of subject-

matter jurisdiction.” The party asserting jurisdiction “constantly bears the burden of proof that

jurisdiction does in fact exist.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

   “In general, where subject matter jurisdiction is being challenged, the trial court is free to weigh

the evidence and resolve factual disputes in order to satisfy itself that it has the power to hear the

case.” Montez v. Dep’t of Navy, 392 F.3d 147, 149 (5th Cir. 2004). The court may ﬁnd a lack of

jurisdiction based on “(1) the complaint alone; (2) the complaint supplemented by undisputed
facts evidenced in the record; or (3) the complaint supplemented by undisputed facts plus the
court’s resolution of disputed facts.” Ramming, 281 F.3d at 161. A motion to dismiss for lack of

subject-matter jurisdiction should be granted only if it appears certain that the plaintiﬀ cannot

prove a plausible set of facts that establish subject-matter jurisdiction. Davis v. United States, 597

F.3d 646, 649 (5th Cir. 2009).
II. Summary Judgment
   A summary-judgment movant bears the initial burden of demonstrating, by reference to record

evidence, if necessary, that there is no genuine issue of material fact and that it is entitled to

judgment as a matter of law. Fed. R. Civ. P. 56(a), (c); Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986). A fact is material if, under the governing substantive law, it could aﬀect the outcome of the

                                                  3
Case 4:23-cv-00597-ALM-BD            Document 42        Filed 05/30/25      Page 4 of 12 PageID #:
                                             614



suit. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A factual issue is genuine if “the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id.

   When the movant would bear the burden of proof at trial, it must come forward with evidence

that establishes “beyond peradventure all of the essential elements of the claim or defense” it seeks

to prove. Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1986). But when the nonmovant

would bear the burden of proof at trial, the movant may carry its initial summary-judgment burden

by alleging that “the nonmovant has failed to establish an element essential to” its case. Austin v.

Kroger Tex., L.P., 864 F.3d 326, 335 (5th Cir. 2017). The nonmovant may then avoid summary

judgment by demonstrating the existence of a genuine issue of material fact. Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “[A] party opposing a properly-supported

summary judgment motion may not rest upon mere allegations contained in the pleadings, but

must set forth and support by summary judgment evidence speciﬁc facts showing the existence of

a genuine issue for trial.” Johnson v. Bd. of Supervisors of La. State Univ. & Agric. & Mech. Coll., 90

F.4th 449, 460 (5th Cir. 2024) (quotation marks omitted). The court must resolve all reasonable

doubts in the nonmovant’s favor. Casey Enters., Inc. v. Am. Hardware Mut. Ins. Co., 655 F.2d 598,

602 (5th Cir. Unit B Sept. 1981).

                                           DISCUSSION
I. Rooker–Feldman
   Under the Rooker–Feldman doctrine, federal district courts lack subject-matter jurisdiction to

review certain state-court judgments. Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,

283–84 (2005); see D.C. Court of Appeals v. Feldman, 460 U.S. 462 (1983); Rooker v. Fidelity Tr.

Co., 263 U.S. 413 (1923). Its application is conﬁned to “cases brought by state-court losers

complaining of injuries caused by state-court judgments rendered before the district court

proceedings commenced and inviting district court review and rejection of those judgments.”

Exxon Mobil, 544 U.S. at 284. When a state trial court errs, the error “is to be reviewed and

corrected by the appropriate state appellate court,” not a federal court. Liedtke v. State Bar of Tex.,


                                                  4
Case 4:23-cv-00597-ALM-BD            Document 42        Filed 05/30/25      Page 5 of 12 PageID #:
                                             615



18 F.3d 315, 317 (5th Cir. 1994). The doctrine also deprives federal courts of subject-matter

jurisdiction where the “allegations are inextricably intertwined with the decision of the state

courts.” Guajardo v. State Bar of Tex., 803 F. App’x 750, 753 (5th Cir. 2020) (quotation marks and

citation omitted). The doctrine does not, however, bar federal review of state-court judgments that

are void. Burciaga v. Deutsche Bank Nat’l Tr. Co., 871 F.3d 380, 385–87 (5th Cir. 2017).

   The Fifth Circuit has identiﬁed two “hallmarks” of the Rooker–Feldman inquiry. Truong, 717

F.3d at 382. The ﬁrst depends on “what the federal court is being asked to review and reject.” Id.

A federal court lacks jurisdiction under Rooker–Feldman only over “challenges to state court

decisions in particular cases arising out of judicial proceedings.” Feldman, 460 U.S. at 486. The

doctrine does not bar federal-court review of properly presented challenges to state statutes,

executive actions, or administrative rules. Truong, 717 F.3d at 382.

   The second hallmark is “the source of the federal plaintiﬀ’s alleged injury.” Id. The doctrine

stymies a federal plaintiﬀ who seeks relief from a state-court judgment based on that court’s

allegedly erroneous decision. Id. at 382–83. But it does not prohibit a federal plaintiﬀ from asserting

“as a legal wrong an allegedly illegal act or omission by an adverse party.” Id. at 383.

   For example, the plaintiﬀ in Truong sued two banks in federal court after one of them foreclosed

on her house and the other did not adequately process her application for a loan modiﬁcation. She

sought damages and a declaration that the underlying state-court judgment in the foreclosure

action was based on inauthentic evidence. Id. at 384. The Fifth Circuit held that Rooker–Feldman

did not bar her claim because she did not seek to overturn the allegedly erroneous state-court

judgment and “the damages she requested were for injuries caused by the banks’ actions, not

injuries arising from the foreclosure judgment.” Id. at 383. Instead, state-law preclusion principles

prevented the federal court from entertaining her claim for a declaratory judgment because doing

so would require relitigation of matters already decided. Id. at 388.

   Boiled down to its essential elements, the Rooker–Feldman doctrine generally stays a federal

district court’s hand when “(1) a state-court loser; (2) alleg[es] harm caused by a state-court

judgment; (3) that was rendered before the [federal] district court proceedings began; and (4) the
                                                  5
Case 4:23-cv-00597-ALM-BD            Document 42        Filed 05/30/25      Page 6 of 12 PageID #:
                                             616



federal suit requests review and reversal of the state-court judgment.” Burciaga, 871 F.3d at 384.

But even when each of those elements is satisﬁed, the doctrine will not apply if either of two

exceptions exists. First, federal courts do not “apply Rooker–Feldman to state decisions that would

not be given preclusive eﬀect under doctrines of res judicata and collateral estoppel.” Id. at 387

(quotation marks omitted). And second, as already noted, the doctrine “does not preclude review

of void state court judgments.” Id. at 385.

   Nonprecedential Fifth Circuit opinions handed down after Burciaga was decided have said

diﬀerent things about that second exception. Compare Starks v. Davis, No. 21-11154, 2022 WL

17591477, at *1 (5th Cir. Dec. 13, 2022) (per curiam) (asserting that “the cases that recognize the

voidness exception indicate that it is presently limited to the bankruptcy context”), Hutchings v.

County of Llano, No. 20-50885, 2022 WL 3716483, at *1 (5th Cir. Aug. 29, 2022) (per curiam)

(stating that the Fifth Circuit has “neither recognized nor rejected that exception”), and Nunu v.

Texas, No. 21-20446, 2022 WL 820744, at *2 (5th Cir. Mar. 17, 2022) (per curiam) (quoting In re

Cleveland Imaging & Surgical Hosp., L.L.C., 690 F. App’x 283, 286 (5th Cir. 2017), decided before

Burciaga, to explain that “[t]his court has neither endorsed nor rejected [the voidness]

exception”), with In re Eichor, No. 24-20238, 2025 WL 619168, at *3 n.3 (5th Cir. Jan. 28, 2025)

(per curiam) (quoting Burciaga as support for the existence of the voidness exception), Nicholson

v. Bank of Am., No. 22-11064, 2023 WL 8434051, at *2 (5th Cir. Dec. 5, 2023) (per curiam)

(concluding that Rooker–Feldman applied because the underlying judgment was not void), and

Ragio - 2204 Jesse Owens, L.L.C. v. Hattaway, No. 20-50693, 2022 WL 3572694, at *4 (5th Cir.

Aug. 19, 2022) (per curiam) (quoting Burciaga and recognizing the voidness exception). But under

the rule of orderliness, the court’s precedential opinion in Burciaga would control even if those

subsequent opinions were also precedential. See Jacobs v. Nat’l Drug Intelligence Ctr., 548 F.3d 375,

378 (5th Cir. 2008) (explaining that “[i]t is a well-settled Fifth Circuit rule of orderliness that one

panel of our court may not overturn another panel’s decision, absent an intervening change in the

law, such as by a statutory amendment, or the Supreme Court, or our en banc court”).


                                                  6
Case 4:23-cv-00597-ALM-BD           Document 42        Filed 05/30/25       Page 7 of 12 PageID #:
                                            617



   The Lals might be able to demonstrate satisfaction of the ﬁnal three Rooker–Feldman elements.

The court need not decide whether they can, however, because the ﬁrst element is not clearly met.

In any event, U.S. Bank avoids dismissal under Rooker–Feldman because it has carried its burden

to show that its suit falls within the void-judgment exception.
   A. “State-court loser” element
   It is at best unclear that U.S. Bank as trustee for EMX5, which was not a party to the state

proceedings, can be properly viewed as a state-court loser. The state court rendered a judgment

that “certain deeds of trust recorded as Instruments 20060404000435780 and 200604000435790,

deed records of Collin County, Texas, are hereby terminated, discharged and unenforceable.”

Dkt. 36-1 at 3. The instrument ending in 5780 is the deed of trust securing the original mortgage.

Dkt. 37-1. That deed was assigned to U.S. Bank as trustee for EMX5. Dkt. 37-2. The state-court

judgment therefore purports to terminate EMX5’s interest in the property.

   “[A] nonparty cannot be a state-court loser.” Ragio, 2022 WL 3572694, at *3; see Johnson v.

De Grandy, 512 U.S. 997, 1006 (1994) (noting that the Rooker–Feldman doctrine did not apply to a

plaintiﬀ that was “not a party in the state court” and was “in no position to ask [the Supreme]

Court to review the state court’s judgment and has not directly attacked it in this proceeding”).

That said, the “nonparty” label is not applied rigidly; a third party named in the relevant state-
court orders is not a nonparty for Rooker–Feldman purposes. Ragio, 2022 WL 3572694 at *3.
   The state-court judgment that purports to terminate EMX5’s deed of trust does not name

EMX5. Dkt. 36-1. Nor does anything else identiﬁed by the parties in the state-court record. See,

e.g., Dkts. 37-10 (state-court petition), 37-11 (citation), 37-12 (return of service). Although EMX5’s

interests could be aﬀected by the state-court judgment, the court cannot determine that EMX5 is

a “state-court loser” for Rooker–Feldman purposes. But as explained below, it need not reach a

deﬁnitive conclusion on that point because the voidness exception makes Rooker–Feldman

inapplicable here.




                                                  7
Case 4:23-cv-00597-ALM-BD           Document 42        Filed 05/30/25       Page 8 of 12 PageID #:
                                            618



   B. Void-judgment exception
   As already noted, even if U.S. Bank’s claims satisﬁed all four elements required to trigger

Rooker–Feldman, it could still avoid dismissal on that ground if an exception applies. U.S. Bank

makes no argument about the preclusive eﬀect of the state-court judgment; it argues only that the

judgment is void because it was rendered without service on the bank as trustee for EMX5. The

Lals argue that the judgment is not void because EMX5 was virtually represented. As discussed

below, that argument fails, and U.S. Bank has produced enough evidence that the judgment was

rendered without suﬃcient notice to EMX5 to carry its burden to secure federal jurisdiction.

   Notice is “[a]n elementary and fundamental requirement of due process.” Mullane v. Cent.

Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950). And under Texas law, a judgment may not be

entered against a trustee, even if he appears individually in the litigation, unless he has been sued

and served in his capacity as trustee. Werner v. Colwell, 909 S.W.2d 866, 870 (Tex. 1995).

   The original petition names only “U.S. Bank, National Association, as Trustee for RASC 2006

EMX6” as a defendant. Dkt. 37-10 at 2. Only EMX6 was cited to appear. Dkts. 37-11, 37-12. As

such, service on U.S. Bank as trustee of EMX6 was insuﬃcient to provide it, as trustee of EMX5,

with due process. U.S. Bank has therefore presented evidence tending to show that the default

judgment aﬀecting EMX5’s interests is constitutionally inﬁrm. See Peralta v. Heights Med. Ctr.,

Inc., 485 U.S. 80, 84 (1988) (explaining that “[w]hen the defaulting party fails to appear due to a

lack of proper notice, the subsequent judgment is constitutionally inﬁrm”). A “constitutionally

inﬁrm default judgment is void.” Thompson v. Landry, No. 23-0875, 2025 WL 1350003, at *4 (Tex.

May 9, 2025).

   And again, the Rooker–Feldman doctrine does not bar federal review of void state-court

judgments. Burciaga, 871 F.3d at 385. It does, however, prohibit federal review of judgments that

are merely voidable. Id.; see United States v. Shepherd, 23 F.3d 923, 925 (5th Cir. 1994).

   “[T]he fact that a judgment may be erroneous does not render it void.” Ex parte La Rocca, 282

S.W.2d 700, 703 (Tex. 1955). “A judgment is void only when it is apparent that the court rendering

judgment had no jurisdiction of the parties or property, no jurisdiction of the subject matter, no

                                                  8
Case 4:23-cv-00597-ALM-BD            Document 42         Filed 05/30/25       Page 9 of 12 PageID #:
                                             619



jurisdiction to enter the particular judgment, or no capacity to act.” Travelers Ins. Co. v. Joachim,

315 S.W.3d 860, 863 (Tex. 2010) (quoting Browning v. Prostok, 165 S.W.3d 336, 346 (Tex. 2005)).

Proper service is required to establish personal jurisdiction. In re E.R., 385 S.W.3d 552, 563 (Tex.

2012). Without that jurisdiction, a judgment may be challenged as void. PNS Stores, Inc. v. Rivera,

379 S.W.3d 267, 272 (Tex. 2012).

    U.S. Bank’s argument that the state-court judgment was rendered without proper service is

therefore a permissible collateral attack on an allegedly void judgment. The bank has produced

enough evidence in support of that argument to show that Rooker–Feldman does not bar its suit.
II. Preclusion Through Virtual Representation
    “To determine the preclusive eﬀect of a state court judgment in a federal action, federal courts

must apply the law of the state from which the judgment emerged.” Black v. N. Panola Sch. Dist.,

461 F.3d 584, 588 (5th Cir. 2006). Under Texas law, the equitable doctrine of virtual representation

allows a nonparty to challenge a judgment if “(1) it is bound by the judgment; (2) its privity of

estate, title, or interest appears from the record; and (3) there is an identity of interest between [it]

and a party to the judgment.” State v. Naylor, 466 S.W.3d 783, 789 (Tex. 2015); see In re

Lumbermens Mut. Cas. Co., 184 S.W.3d 718, 722 (Tex. 2006). But in Taylor v. Sturgell, the Supreme

Court emphasized “the fundamental nature of the general rule that a litigant is not bound by a
judgment to which she was not a party” and explained that virtual representation is a narrow
exception to that rule. 553 U.S. 880, 898 (2008).

    The Lals argue that U.S. Bank as trustee for EMX5 should be precluded from collaterally

attacking the state-court judgment because it was virtually represented by EMX6. U.S. Bank argues

that it was not virtually represented because its interest as trustee for EMX5 diﬀered from that of

EMX6. U.S. Bank is correct.
    A. Bound by the judgment
    Neither party disputes that U.S. Bank as trustee for EMX5 is bound by the default judgment

extinguishing its lien. That checks the ﬁrst virtual-representation box.



                                                   9
Case 4:23-cv-00597-ALM-BD              Document 42 Filed 05/30/25               Page 10 of 12 PageID #:
                                                620



     B. Privity
     The Lals argue that privity exists because U.S. Bank is the trustee for both trusts and the

 interests of the two trusts are identical. U.S. Bank disputes the assertion of privity, arguing that the

 two trusts have conﬂicting interests.

     There are three types of privity relevant to the virtual-representation inquiry: privity of estate,

 of title, and of interest. Naylor, 466 S.W.3d at 89. Privity of estate and title concern present

 interests in land and arise based on the relationship between a present holder and his predecessors.

 See Tawes v. Barnes, 340 S.W.3d 419, 429 (Tex. 2011); Brownson v. Scanlan, 59 Tex. 222, 228

 (1883). As such, they are not relevant to lienholders. See Migura v. Dukes, 770 S.W.2d 568, 569

 (Tex. 1989) (explaining that a lien is neither title nor an estate in property but rather “the right of

 recourse to sell speciﬁc property in satisfaction of a debt”).

     It is not clear how privity of interest diﬀers from identity of interest, the third element of virtual

 representation. See Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 653 (Tex. 1996) (stating that

 “[p]rivity exists if the parties share an identity of interests in the basic legal right that is the subject

 of litigation”); see also Naylor, 466 S.W.3d at 789–90 (discussing the ﬁrst and third requirements

 of virtual representation but skipping privity); Lumbermens, 184 S.W.3d at 724–25 (focusing on

 identity of interests and concluding that virtual representation applied without discussing privity).

 But because, as explained next, EMX5 and EMX6 do not share an identity of interest, the court

 need not determine whether they also lack privity of interest.
     C. Identity of interests
     The Lals argue that, despite representing diﬀerent trusts, U.S. Bank is one entity and that its

 interests are not divided. U.S. Bank argues that its interests as trustee of EMX5 and EMX6 diﬀered

 in the state-court litigation because, by the time of the state-court suit, EMX6 no longer held any

 interest in the property. U.S. Bank has the better argument.

     Two entities share an identity of interests when their ultimate aims in litigation are the same.

 Lumbermens, 184 S.W.3d at 724. For example, two entities might share an interest in “protecting




                                                     10
Case 4:23-cv-00597-ALM-BD            Document 42 Filed 05/30/25              Page 11 of 12 PageID #:
                                              621



 the funds that the underlying judgment puts at risk” even though the legal theories they argue

 diverge. Id. at 724–25.

    “[A] trust is created when one person (a ʻsettlor’ or ʻgrantor’) transfers property to a third

 party (a ʻtrustee’) to administer for the beneﬁt of another (a ʻbeneﬁciary’).” N.C. Dep’t of Revenue

 v. The Kimberley Rice Kaestner 1992 Family Tr., 588 U.S. 262, 265 (2019). “As traditionally

 understood, the arrangement that results is not a distinct legal entity, but a ﬁduciary relationship

 between multiple people. The trust comprises the separate interests of the beneﬁciary, who has an

 equitable interest in the trust property, and the trustee, who has a legal interest in that property.”

 Id. (cleaned up); accord Ray Malooly Tr. v. Juhl, 186 S.W.3d 568, 570–71 (Tex. 2006). A judgment

 cannot be rendered against a trust in its own name; the trustee, in his capacity as such, is the proper

 defendant. Ray Malooly Tr., 186 S.W.3d at 571.

    A trustee owes certain ﬁduciary duties to the trust’s beneﬁciaries. Johnson v. Brewer &

 Pritchard, P.C., 73 S.W.3d 193, 199 (Tex. 2002). Those include “all of the duties imposed on

 trustees by the common law,” Tex. Prop. Code § 113.051, and the duties to “invest and manage

 trust assets as a prudent investor would” and to “exercise reasonable care, skill, and caution.” Id.

 § 117.004(a).

    The Lals rely on Mason v. Mason, 366 S.W.2d 552, 554 (Tex. 1963), to support their argument.

 But that case does not apply here. Mason explains that a trustee, who owes a ﬁduciary duty to the

 trust beneﬁciaries, can virtually represent the beneﬁciaries and that a judgment against a trustee is

 not void for failing to join the beneﬁciaries. Id. That is because a trustee has a limited right to

 dispose of the trust property and owes duties to the beneﬁciaries to represent and defend their

 interests. Id. But here, the Lals insist that the presence of a trustee for one trust in the litigation

 (EMX6) protected the interests of a second trust (EMX5).

    Under Texas law, EMX5 and EMX6 are separate relationships involving a common trustee,

 U.S. Bank, and each trust’s beneﬁciaries, who (or which) have not been identiﬁed in this suit. The

 Lals argue that EMX5 and EMX6 had “the same interest in vigorously defending against being

 stripped of” their liens in the state-court proceeding. Dkt. 36 at 8. U.S. Bank disagrees, pointing
                                                   11
Case 4:23-cv-00597-ALM-BD              Document 42 Filed 05/30/25          Page 12 of 12 PageID #:
                                                622



 out that EMX6 no longer held a lien on the property. Its response attaches a release showing that

 the subordinate lien held by EMX6 and recorded in Collin County as instrument number

 20060404000435790 was released in June 2019 after “full payment and satisfaction of the same.”

 Dkt. 37-5. The Lals make no attempt to explain how EMX6, which no longer had any interest in

 the property, had the same ultimate aim in litigation as EMX5, which still had a lien to protect.

 That means the Lals have not established the requisite identity of interests.

                                        RECOMMENDATION

    It is RECOMMENDED that the Lals’ motion for summary judgment, Dkt. 36, be DENIED.

                                              *   *    *

    Within 14 days after service of this report, any party may serve and ﬁle written objections to

 the ﬁndings and recommendations of the magistrate judge. 28 U.S.C. § 636(b)(1)(C).

    A party is entitled to a de novo review by the district court of the ﬁndings and conclusions

 contained in this report only if speciﬁc objections are made. Id. § 636(b)(1). Failure to timely ﬁle

 written objections to any proposed ﬁndings, conclusions, and recommendations contained in this

 report will bar an aggrieved party from appellate review of those factual ﬁndings and legal

 conclusions accepted by the district court, except on grounds of plain error, provided that the party

 has been served with notice that such consequences will result from a failure to object. Id.; Thomas

 v. Arn, 474 U.S. 140, 155 (1985); Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1417 (5th Cir.

    . (en banc), superseded by statute on other grounds; 28 U.S.C. § 636(b)(1) (extending the time to
 1996)

 ﬁle objections from 10 to 14 days).

    So ORDERED and SIGNED this 30th day of May, 2025.



                                         ________________________________________
                                         Bill Davis
                                         United States Magistrate Judge




                                                  12
